Case 3:19-cv-21248-BRM-LHG Document 38 Filed 06/12/20 Page 1 of 3 PagelD: 393

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE TRUSTEES OF PRINCETON

UNIVERSITY,
Plaintiff, }
‘Civil Action No.
Vv. | 3:19-cv-21248-BRM-LHG
TOD WILLIAMS BILLIE TSIEN :Motion Return Date:
ARCHITECTS, LLP; JACOBS : July 6, 2020

ARCHITECTS/ENGINEERS, INC.;
and JACOBS CONSULTANCY INC.,

Defendants. |

 

TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP,

Defendant/
Third-Party Plaintiff, :

Vv.

ARUP, USA, INC., THE
BALLINGER COMPANY, SEVERUD
ASSOCIATES CONSULTING ;
ENGINEERS, P.C., FISHER
MARANTZ STONE, FRANK HUBACH
ASSOCIATES, INC., F.J. SCIAME :
CONSTRUCTION COMPANY, INC.,
JOHN DOES 1-10 and ABC
CORPORATIONS 1-10,

Third-Party Defendants. |

 

DEFENDANT TOD WILLIAMS BILLIE TSIEN ARCHITECTS, LLP’S NOTICE OF

MOTION FOR LEAVE TO FILE AN AMENDED THIRD-PARTY COMPLAINT, AND

ANSWER TO CROSS-COMPLAINT WITH THIRD-PARTY COMLAINT, AND ANSWER
TO COUNTERCLAIM WITH THIRD-PARTY COMPLAINT
Case 3:19-cv-21248-BRM-LHG Document 38 Filed 06/12/20 Page 2 of 3 PagelD: 394

TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD

PLEASE TAKE NOTICE that, on Monday, July 6, 2020, defendant
Tod Williams Billie Tsien Architects, LLP, through their
undersigned counsel Thompson Becker, L.L.C., will move before
the Honorable Lois H. Goodman, U.S.M.J., at the Clarkson S.
Fisher Federal Building & U.S. Courthouse, Room 7050, 402 E.
State Street, Trenton, NJ 08608, for an Order granting defendant
leave to file:

1. an Amended Third-Party Complaint joining additional
parties in this matter in substantially the same form as Exhibit
“A”; and

2. an Answer to the Cross-Complaint by defendants Jacobs
Architects/Engineers, Inc. and Jacobs Consultancy, Inc. and
Third-Party Complaint in the same form as Exhibit “B”; and

3. an Answer to the Counterclaim by third-party Arup, USA,
Inc. and Third-Party Complaint in the same form as Exhibit “c”.

PLEASE TAKE FURTHER NOTICE that in support of this motion,
defendant will rely on their Brief in Support of the Motion for
Leave to Amend, the accompanying Certification of Counsel, and

all documents attached thereto.
Case 3:19-cv-21248-BRM-LHG Document 38 Filed 06/12/20 Page 3 of 3 PagelD: 395

PLEASE TAKE FURTHER NOTICE that, pursuant to Local Rule

7.1(e), a proposed form of Order is submitted herewith for the

Court’s consideration.

Dated:

June 12,

2020

Respectfully submitted,

THOMPSON BECKER, L.L.C.

By: John M. Becker, Esquire
I.D. #8515

Ten Melrose Avenue

Woodcrest Pavilion, Suite 400
Cherry Hill, New Jersey 08003
Phone: (856) 616-8886
Facsimile: (856) 616-9118

Our File No. 7500-091
jbecker@thompsonbeckerlaw.com
Attorneys for Defendant,

Tod Williams Billie Tsien Architects,
LLP

By: onal

John fi/ Becker, Esquire
